 Fill in this information to identify your case:

     United States Bankruptcy Court for the:

     ____________________ District of _________________
     Northern District of California     (State)
     Case number (If known): _________________________ Chapter you are filing under:
                                                               Chapter 7
                                                            
                                                            ✔   Chapter 11
                                                               Chapter 12
                                                               Chapter 13                                         Check if this is an
                                                                                                                      amended filing


Official Form 101
Volunt a r y Pe t it ion for I ndividua ls Filing for Ba nk rupt cy                                                                       02/20

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Pa rt 1 :     I de nt ify Yourse lf

                                        About Debtor 1:                                      About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture
                                         Anthony
                                        __________________________________________________   __________________________________________________
       identification (for example,     First name                                           First name
       your driver’s license or          Scott
                                        __________________________________________________   __________________________________________________
       passport).                       Middle name                                          Middle name

       Bring your picture                Levandowski
                                        __________________________________________________   __________________________________________________
       identification to your meeting   Last name                                            Last name
       with the trustee.                ___________________________                          ___________________________
                                        Suffix (Sr., Jr., II, III)                           Suffix (Sr., Jr., II, III)




2.    All other names you
      have used in the last 8
      years
       Include your married or
       maiden names.




3.    Only the last 4 digits of                           3    9    9    4
      your Social Security              xxx        – xx – ____ ____ ____ ____                xxx   – xx – ____ ____ ____ ____
      number or federal                 OR                                                   OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                      9 xx – xx – ____ ____ ____ ____
      (ITIN)


               Case:
      Official Form 101   20-30242       Doc# 1 Voluntary
                                                   Filed:Petition
                                                          03/04/20          Entered:
                                                                  for Individuals         03/04/20
                                                                                  Filing for          14:32:24
                                                                                             Bankruptcy             Page 1 ofpage
                                                                                                                              7 1
                                    About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):


4.   Any business names
     and Employer                   
                                    ✔ I have not used any business names or EINs.                 I have not used any business names or EINs.
     Identification Numbers
     (EIN) you have used in         _________________________________________________            _________________________________________________
     the last 8 years               Business name                                                Business name

     Include trade names and
                                    _________________________________________________            _________________________________________________
     doing business as names        Business name                                                Business name



                                    _________________________________________________            _________________________________________________
                                    EIN                                                          EIN

                                    _________________________________________________            _________________________________________________

                                    EIN                                                          EIN



5.   Where you live                                                                              If Debtor 2 lives at a different address:


                                    5 Cloudview Trail                                            _________________________________________________
                                    _________________________________________________
                                    Number     Street                                            Number     Street


                                    _________________________________________________            _________________________________________________


                                    Sausalito                               CA
                                    _________________________________________________
                                                                                      94965      _________________________________________________
                                    City                            State   ZIP Code             City                            State   ZIP Code

                                    Marin County                                                 _________________________________________________
                                    _________________________________________________
                                    County                                                       County


                                    If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                    above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                    any notices to you at this mailing address.                  any notices to this mailing address.

                                    1655 Oak Avenue                                              _________________________________________________
                                    _________________________________________________
                                    Number     Street                                            Number     Street

                                    _________________________________________________            _________________________________________________
                                    P.O. Box                                                     P.O. Box

                                    Saint Helena                            CA
                                    _________________________________________________
                                                                                      94574      _________________________________________________
                                    City                            State   ZIP Code             City                            State   ZIP Code




6.   Why you are choosing           Check one:                                                   Check one:
     this district to file for
     bankruptcy                     
                                    ✔ Over the last 180 days before filing this petition, I       Over the last 180 days before filing this petition, I
                                          have lived in this district longer than in any other      have lived in this district longer than in any other
                                          district.                                                 district.

                                     I have another reason. Explain.                             I have another reason. Explain.
                                          (See 28 U.S.C. § 1408.)                                   (See 28 U.S.C. § 1408.)




              Case:
     Official Form 101   20-30242    Doc# 1 Voluntary
                                               Filed:Petition
                                                      03/04/20          Entered:
                                                              for Individuals         03/04/20
                                                                              Filing for          14:32:24
                                                                                         Bankruptcy                         Page 2 ofpage
                                                                                                                                      7 2
 Pa rt 2 :     T e ll t he Court About Y our Ba nk ruptc y Ca se


 7.    The chapter of the             Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
       Bankruptcy Code you            for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       are choosing to file
       under
                                       Chapter 7
                                      
                                      ✔ Chapter 11


                                       Chapter 12
                                       Chapter 13

 8.    How you will pay the fee       
                                      ✔
                                        I will pay the entire fee when I file my petition. Please check with the clerk’s office in your
                                          local court for more details about how you may pay. Typically, if you are paying the fee
                                          yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                          submitting your payment on your behalf, your attorney may pay with a credit card or check
                                          with a pre-printed address.

                                       I need to pay the fee in installments. If you choose this option, sign and attach the
                                          Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                          By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                          less than 150% of the official poverty line that applies to your family size and you are unable to
                                          pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                          Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.     Have you filed for       
                                ✔ No
       bankruptcy within the
       last 8 years?             Yes.    District ____________________________________________ When ______________ Case number __________________


                                          District ____________________________________________ When ______________ Case number __________________


                                          District ____________________________________________ When ______________ Case number __________________




 10.   Are any bankruptcy              ✔ No
       cases pending or being
       filed by a spouse who is         Yes.
       not filing this case with
       you, or by a business
       partner, or by an       Debtor _________________________________________________                 Relationship to you ________________________
       affiliate?              District _______________________________________________ When _______________ Case number, if known__________________



                                Debtor _________________________________________________                    R elationship to you ___________________________

                                District _______________________________________________ When _______________ Case number, if known__________________


11.    Do you rent your                No.    Go to line 12.
       residence?                     
                                      ✔ Yes.   Has your landlord obtained an eviction judgment against you?


                                                
                                                ✔   No. Go to line 12.
                                                   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with
                                                    this bankruptcy petition.




                Case:
       Official Form 101   20-30242      Doc# 1 Voluntary
                                                   Filed:Petition
                                                          03/04/20          Entered:
                                                                  for Individuals         03/04/20
                                                                                  Filing for          14:32:24
                                                                                             Bankruptcy                       Page 3 ofpage
                                                                                                                                        7 3
Pa rt 3 :     Re port About Any Busine sse s Y ou Ow n a s a Sole Proprie t or


12.   Are you a sole proprietor         
                                        ✔ No. Go to Part 4.
      of any full- or part-time
      business?                          Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                 _______________________________________________________________________________________
                                                 Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or             _______________________________________________________________________________________
                                                 Number    Street
      LLC.
      If you have more than one
                                                 _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
      to this petition.                          _______________________________________________        _______      __________________________
                                                  City                                                  State        ZIP Code


                                                 Check the appropriate box to describe your business:
                                                    Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                    Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                    Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                    Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                    None of the above


13.   Are you filing under              If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                 can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and               most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                        any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
      debtor?
                                         No.    I am not filing under Chapter 11.
      For a definition of small
      business debtor, see              
                                        ✔ No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                      the Bankruptcy Code.
                                         Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                 Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.
                                         Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                 Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.

Pa rt 4 :     Re port if Y ou Ow n or H a ve Any Ha za rdous Prope rt y or Any Prope rty T ha t N e e ds Im m e dia t e Att e nt ion

14.   Do you own or have any            
                                        ✔ No
      property that poses or is
      alleged to pose a threat           Yes.    What is the hazard?
      of imminent and
      identifiable hazard to
      public health or safety?
      Or do you own any
      property that needs
                                                  If immediate attention is needed, why is it needed?
      immediate attention?
      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                  Where is the property?




               Case:
      Official Form 101   20-30242        Doc# 1 Voluntary
                                                    Filed:Petition
                                                           03/04/20          Entered:
                                                                   for Individuals         03/04/20
                                                                                   Filing for          14:32:24
                                                                                              Bankruptcy                        Page 4 ofpage
                                                                                                                                          7 4
Pa rt 5 :     Ex pla in Y our Effort s to Re c e ive a Brie fing About Cre dit Counse ling

                                        About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit             You must check one:                                          You must check one:
      counseling.
                                        
                                        ✔ I received a briefing from an approved credit               I received a briefing from an approved credit
                                           counseling agency within the 180 days before I               counseling agency within the 180 days before I
      The law requires that you            filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
      receive a briefing about credit      certificate of completion.                                   certificate of completion.
      counseling before you file for
                                           Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
      bankruptcy. You must
                                           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you          I received a briefing from an approved credit               I received a briefing from an approved credit
      cannot do so, you are not            counseling agency within the 180 days before I               counseling agency within the 180 days before I
      eligible to file.                    filed this bankruptcy petition, but I do not have a          filed this bankruptcy petition, but I do not have a
                                           certificate of completion.                                   certificate of completion.
      If you file anyway, the court
                                           Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                           plan, if any.                                                plan, if any.
      you paid, and your creditors
      can begin collection activities    I certify that I asked for credit counseling                I certify that I asked for credit counseling
      again.                               services from an approved agency, but was                    services from an approved agency, but was
                                           unable to obtain those services during the 7                 unable to obtain those services during the 7
                                           days after I made my request, and exigent                    days after I made my request, and exigent
                                           circumstances merit a 30-day temporary waiver                circumstances merit a 30-day temporary waiver
                                           of the requirement.                                          of the requirement.
                                           To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
                                           requirement, attach a separate sheet explaining              requirement, attach a separate sheet explaining
                                           what efforts you made to obtain the briefing, why            what efforts you made to obtain the briefing, why
                                           you were unable to obtain it before you filed for            you were unable to obtain it before you filed for
                                           bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
                                           required you to file this case.                              required you to file this case.
                                           Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                                           dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                                           briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.
                                           If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                                           still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                                           You must file a certificate from the approved                You must file a certificate from the approved
                                           agency, along with a copy of the payment plan you            agency, along with a copy of the payment plan you
                                           developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                                           may be dismissed.                                            may be dismissed.
                                           Any extension of the 30-day deadline is granted              Any extension of the 30-day deadline is granted
                                           only for cause and is limited to a maximum of 15             only for cause and is limited to a maximum of 15
                                           days.                                                        days.

                                         I am not required to receive a briefing about               I am not required to receive a briefing about
                                           credit counseling because of:                                credit counseling because of:

                                            Incapacity.      I have a mental illness or a mental        Incapacity.      I have a mental illness or a mental
                                                              deficiency that makes me                                     deficiency that makes me
                                                              incapable of realizing or making                             incapable of realizing or making
                                                              rational decisions about finances.                           rational decisions about finances.
                                            Disability.      My physical disability causes me           Disability.      My physical disability causes me
                                                              to be unable to participate in a                             to be unable to participate in a
                                                              briefing in person, by phone, or                             briefing in person, by phone, or
                                                              through the internet, even after I                           through the internet, even after I
                                                              reasonably tried to do so.                                   reasonably tried to do so.
                                            Active duty.     I am currently on active military          Active duty.     I am currently on active military
                                                              duty in a military combat zone.                              duty in a military combat zone.
                                           If you believe you are not required to receive a             If you believe you are not required to receive a
                                           briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                                           motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.




             Case: 20-30242
       Official Form 101
                                         Doc# 1         Filed: 03/04/20              Entered: 03/04/20 14:32:24
                                                       Voluntary Petition for Individuals Filing for Bankruptcy
                                                                                                                               Page 5 of 7page 5
Pa rt 6 :     Answ e r T he se Que st ions for Re port ing Purpose s

                                     16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do               as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                          
                                          ✔   No. Go to line 16b.
                                             Yes. Go to line 17.

                                     16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                          money for a business or investment or through the operation of the business or investment.
                                          
                                          ✔   No. Go to line 16c.
                                             Yes. Go to line 17.

                                     16c. State the type of debts you owe that are not consumer debts or business debts.
                                          Judgment
                                          _______________________________________________________________

17.   Are you filing under
      Chapter 7?                     
                                     ✔ No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after      Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is                  administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                               No
      administrative expenses
      are paid that funds will be                Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do          
                                     ✔ 1-49                                    1,000-5,000                             25,001-50,000
      you estimate that you           50-99                                   5,001-10,000                            50,001-100,000
      owe?                            100-199                                 10,001-25,000                           More than 100,000
                                      200-999
19.   How much do you                 $0-$50,000                              $1,000,001-$10 million                  $500,000,001-$1 billion
      estimate your assets to         $50,001-$100,000                        $10,000,001-$50 million                 $1,000,000,001-$10 billion
      be worth?                       $100,001-$500,000                      
                                                                              ✔ $50,000,001-$100 million                $10,000,000,001-$50 billion
                                      $500,001-$1 million                     $100,000,001-$500 million               More than $50 billion
20.   How much do you                 $0-$50,000                              $1,000,001-$10 million                  $500,000,001-$1 billion
      estimate your liabilities       $50,001-$100,000                        $10,000,001-$50 million                 $1,000,000,001-$10 billion
      to be?                          $100,001-$500,000                       $50,000,001-$100 million                $10,000,000,001-$50 billion
                                      $500,001-$1 million                    
                                                                              ✔ $100,000,001-$500 million               More than $50 billion
Pa rt 7 :     Sign Be low

                                     I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                              correct.
                                     If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                     of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                     under Chapter 7.
                                     If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                     this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                     I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                     I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                     with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                     18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                      /s/ Anthony Scott Levandowski
                                        ______________________________________________              _____________________________
                                        Signature of Debtor 1                                           Signature of Debtor 2

                                                        03/04/2020
                                        Executed on _________________                                   Executed on __________________
                                                        MM   / DD    / YYYY                                            MM / DD     / YYYY



              Case:
            Official Form20-30242
                          101         Doc# 1           Filed: 03/04/20
                                                        Voluntary               Entered:Filing
                                                                  Petition for Individuals 03/04/20    14:32:24
                                                                                               for Bankruptcy                    Page 6 of 7        page 6
                                I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are   to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one              available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented      knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                _________________________________
                                  /s/ Tobias Keller                                                 Date           03/04/2020
                                                                                                                  _________________
                                   Signature of Attorney for Debtor                                               MM     /   DD / YYYY



                                     Tobias Keller
                                   _________________________________________________________________________________________________
                                   Printed name

                                     Keller Benvenutti Kim LLP
                                   _________________________________________________________________________________________________
                                   Firm name

                                    650 California St
                                   _________________________________________________________________________________________________
                                   Number Street

                                    1900
                                   _________________________________________________________________________________________________

                                    San Francisco                                                   CA            94108
                                   ______________________________________________________ ____________ ______________________________
                                   City                                                    State        ZIP Code




                                   Contact phone 415.496.6723
                                                 ______________________________         Email address
                                                                                                        tkeller@kbkllp.com
                                                                                                         _________________________________________



                                    151445                                                          CA
                                   ______________________________________________________ ____________
                                   Bar number                                              State




         Case: 20-30242          Doc# 1          Filed: 03/04/20             Entered: 03/04/20 14:32:24                      Page 7 of 7
       Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                      page 7
